                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                  NORTHERN DIVISION

                                                   :
Maureen Blank,                                     :
                                                     Civil Action No.: 2:13-cv-00040
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Medicredit, Inc.; and DOES 1-10, inclusive,        :
                                                     COMPLAINT
                                                   :
                        Defendants.                :
                                                   :
                                                   :

        For this Complaint, the Plaintiff, Maureen Blank, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of the Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of the

Plaintiff’s personal privacy by the Defendants and their agents in their illegal efforts to collect a

consumer debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, Maureen Blank (“Plaintiff”), is an adult individual residing in New



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Ulm, Minnesota, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

       5.      Defendant Medicredit, Inc. (“MCI”), is a Missouri business entity with an address

of 3620 Interstate 70 Drive SE, Columbia, Missouri 65201-6582, operating as a collection

agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by MCI and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      MCI at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to MCI for collection, or MCI

was employed by the Creditor to collect the Debt.

       11.     The Defendant attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

B. MCI Engages in Harassment and Abusive Tactics

       12.     In or around September 2012, MCI began contacting Plaintiff in an attempt to

collect the Debt by placing numerous calls daily to Plaintiff’s cellular phone.

       13.     MCI placed calls to Plaintiff using an automated telephone dialer system with an

artificial or prerecorded voice (hereafter “Robocalls”).
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       14.        On at least one occasion, Plaintiff stayed on the line to speak with a live

representative.

       15.        During this conversation, Plaintiff requested that MCI provide validation of the

Debt and cease all calls until it provided such proof.

       16.        MCI, however, failed to send Plaintiff written validation of the Debt as required

by 15 U.S.C. § 1692g.

       17.        Moreover, MCI continued to place Robocalls to Plaintiff’s cellular phone in its

attempt to collect the Debt, despite Plaintiff’s request to the cease the calls.

C. Plaintiff Suffered Actual Damages

       18.        The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       19.        As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                     COUNT I
                    VIOLATIONS OF THE FDCPA - 15 U.S.C. § 1692, et seq.

       20.        The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       21.        The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

       22.        The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.


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        23.       The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

        24.       The Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that Defendants failed

to send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

law.

        25.       The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        26.       The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                  COUNT II
        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                            47 U.S.C. § 227, et seq.

        27.       The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        28.       Defendants contacted Plaintiff using an automatic telephone dualism system

and/or by using a prerecording or artificial message on a cellular telephone of 47 U.S.C. §

227(b)(1)(A)(iii).

        29.       Plaintiff either never provided express consent to Defendant or the Creditor to call

his cellular telephone number, or Plaintiff revoked his consent to be contacted by Defendant on

his cellular telephone by his repeated demands to cease calling his cellular telephone.

        30.       The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

        31.       Each of the aforementioned calls made by Defendant constitutes a negligent or

intentional violation of the TCPA, including each of the aforementioned provisions of 47 U.S.C.

§ 227, et. seq.



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       32.     As a result of each of Defendant’s negligent violations of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B).

       33.     As a result of each of Defendant’s knowing and/or willful violations of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 for each and

every violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


                                    PRAYER FOR RELIEF

               WHEREFORE, Plaintiff prays that judgment be entered against Defendants:


                  1. Actual damages including, but not limited to, the emotional distress the

                      Plaintiff has suffered (and continues to suffer) as a result of the intentional,

                      reckless, and/or negligent FDCPA violations and intentional, reckless, and/or

                      negligent invasions of privacy pursuant to 15 U.S.C. § 1692k(a)(1);

                  2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                      § 1692k(a)(3);

                  4. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                  5. Punitive damages; and

                  6. Such other and further relief that the Court may deem just and proper.

                    TRIAL BY JURY DEMANDED ON ALL COUNTS




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Dated: May 14, 2013

                                    Respectfully submitted,

                                    By: __/s/ Sergei Lemberg______

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